     3:08-cv-00701-CMC        Date Filed 02/28/08     Entry Number 1   Page 1 of 15




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                                Columbia Division


CHRISTIAN LEGAL SOCIETY; and                      )                            3:08-701-CMC
CHRISTIAN LEGAL SOCIETY CHAPTER                   )        CIVIL ACTION NO. _______
AT THE UNIVERSITY OF SOUTH                        )
CAROLINA SCHOOL OF LAW,                           )
                                                  )
                                                  )
                            Plaintiffs,           )
                                                  )
       v.                                         )
                                                  )            COMPLAINT
                                                  )
ANDREW A. SORENSON, in his official               )        (Jury Trial Demanded)
capacity as the President of The University of    )
South Carolina; DENNIS A. PRUITT, in his          )
official capacity as Vice President for Student   )
Affairs at The University of South Carolina;      )
JERRY BREWER, in his official capacity as         )
Associate Vice President for Student Life and     )
Development at The University of South            )
Carolina; ANGELA M. DUSENBURY, in                 )
her official capacity as Coordinator for          )
Student Government & Student                      )
Organizations at The University of South          )
Carolina; MEMBERS OF THE STUDENT                  )
SENATE of The University of South                 )
Carolina, in their official capacities;           )
PRESIDENT OF THE STUDENT BODY of                  )
The University of South Carolina, in his          )
official capacity; ELIZABETH J. DAVIS, in         )
her official capacity as Director of Student      )
Affairs at The University of South Carolina       )
School of Law; and MEMBERS OF THE                 )
STUDENT BAR ASSOCIATION FINANCE                   )
COMMITTEE of The University of South              )
Carolina School of Law, in their official         )
capacities.                                       )
                                                  )
                            Defendants.           )
     3:08-cv-00701-CMC         Date Filed 02/28/08    Entry Number 1       Page 2 of 15




          The Plaintiffs, Christian Legal Society Chapter at The University of South

Carolina School of Law and Christian Legal Society, through their undersigned counsel,

hereby complain of Defendants and would show the Court as follows:

                              I.     JURISDICTION AND VENUE

          1.    Plaintiffs Christian Legal Society and Christian Legal Society Chapter at

The University of South Carolina School of Law bring this civil rights action pursuant to

42 U.S.C. §§ 1983 and 1988 for deprivations of Plaintiffs’ rights secured by the First and

Fourteenth Amendments to the United States Constitution.

          2.    Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1343(a)(3) and

1343(a)(4), which provide for original jurisdiction in this Court of all suits brought

pursuant to 42 U.S.C. § 1983. Jurisdiction is also conferred on this Court by 28 U.S.C. §

1331 because the cause of action arises under the Constitution and laws of the United

States.

          3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because,

upon information and belief, the Defendants reside in the District of South Carolina and

may be found and served in the District of South Carolina, and because a substantial part

of the events or omissions giving rise to these claims arose in this District.

          4.    The case is properly assigned to the Columbia Division because the parties

reside here and the events or omissions giving rise to these claims arose in the Columbia

Division.




                                              2
     3:08-cv-00701-CMC        Date Filed 02/28/08     Entry Number 1     Page 3 of 15




                                       II.       PARTIES

       5.     Plaintiff Christian Legal Society (“CLS”) is an IRC 501(c)(3)-qualified

religious professional membership organization.            Founded in 1961, CLS is an

interdenominational association of more than three thousand Christian lawyers, law

students, judges, and law professors. The members and officers of CLS-USC are each,

by definition, members of CLS. CLS-USC is a local chapter of CLS. CLS is capable of

suing in its own name and has standing to bring this action in its own name and on behalf

of its affiliated chapter at CLS-USC because CLS-USC would possess standing to sue on

their own, the lawsuit is germane to CLS’s purposes of defending religious liberty and

supporting its affiliated chapters, and the declaratory and injunctive relief requested does

not require the participation of CLS-USC itself.

       6.     Plaintiff Christian Legal Society Chapter at The University of South

Carolina School of Law (“CLS-USC”) is an unincorporated organization of students

attending The University of South Carolina School of Law. It is a local chapter of the

national organization known as the Christian Legal Society. CLS-USC has standing to

sue in its own name.

       7.     Defendant Andrew A. Sorenson is the President of The University of South

Carolina.   His duties include interpretation and application of the policies of the

University respecting student affairs, including student organizations. He is responsible

for approving budget proposals passed by the Senate and the President of the Student

Body. Defendant Sorenson is sued in his official capacity.



                                             3
     3:08-cv-00701-CMC        Date Filed 02/28/08    Entry Number 1      Page 4 of 15




       8.     Defendant Dennis A. Pruitt is the Vice President for Student Affairs at The

University of South Carolina. His duties include interpretation and application of the

policies of the University respecting student affairs, including student organizations.

Defendant Pruitt is sued in his official capacity.

       9.     Defendant Jerry Brewer is the Associate Vice President for Student Life

and Development at The University of South Carolina. His duties include interpretation

and application of the policies of the University respecting student affairs, including

student organizations. Defendant Brewer is sued in his official capacity.

       10.    Defendant Angela M. Dusenbury is the Coordinator for Student

Government & Student Organizations at The University of South Carolina. Her duties

include interpretation and application of the policies of the University respecting student

affairs, including student organizations. Defendant Dusenbury is sued in her official

capacity.

       11.    Defendant Members of the Student Senate of The University of South

Carolina are charged with the responsibility and authority to vote on Senate legislation,

including budgets submitted by the Senate Finance Committee, and to interpret and apply

the University’s Finance Codes concerning the disbursement of funds. The Defendant

Members of the Student Senate are sued in their official capacities only. Pursuant to Fed.

R. Civ. P. 25(d)(2) and because of the likelihood that substitution would be necessary for

these student positions, the Members of the Student Senate are named only by their titles

as such, subject to an order of this Court requiring that their names be added.



                                              4
     3:08-cv-00701-CMC       Date Filed 02/28/08     Entry Number 1    Page 5 of 15




       12.    Defendant President of the Student Body of The University of South

Carolina is charged with the responsibility and authority to approve legislation submitted

to him by the Student Senate, including budgets, and to interpret and apply the

University’s Finance Codes concerning the disbursement of funds.          The Defendant

President of Student Body is sued in his official capacity only. Pursuant to Fed. R. Civ.

P. 25(d)(2) and because of the likelihood that substitution would be necessary for this

student position, the President of the Student Body is named only by his title as such,

subject to an order of this Court requiring that his name be added.

       13.    Defendant Elizabeth J. Davis is Director of Student Affairs at The

University of South Carolina School of Law. Her duties include interpretation and

application of the policies of the University and of the School of Law respecting student

affairs, including student organizations.     Defendant Davis, acting pursuant to the

University Senate Finance Code, rejected CLS-USC’s budget proposal submission to the

SBA Finance Committee. Defendant Davis is sued in her official capacity.

       14.    Defendant Members of the Student Bar Association Finance Committee of

The University of South Carolina School of Law are charged with the responsibility and

authority to create combined budget proposals on behalf of law school student

organizations, and to submit these proposals to the Senate Finance Committee, and to

interpret and apply the University’s Finance Codes concerning the disbursement of funds.

The Defendant Members of the Student Bar Association Finance Committee are sued in

their official capacities only. Pursuant to Fed. R. Civ. P. 25(d)(2) and because of the

likelihood that substitution would be necessary for these student positions, the Members

                                             5
     3:08-cv-00701-CMC        Date Filed 02/28/08     Entry Number 1      Page 6 of 15




of the Student Bar Association Finance Committee are named only by their titles as such,

subject to an order of this Court requiring that their names be added.

                              III.    FACTUAL BACKGROUND

                            A.       The Christian Legal Society

       15.    Christian Legal Society is a nationwide association of Christian lawyers,

law students, law professors, and judges. The organization’s purposes include providing

a means of society, fellowship, and nurture among Christian lawyers; promoting justice,

religious liberty, and Biblical conflict resolution; encouraging, discipling, and aiding

Christian law students; and encouraging lawyers to furnish legal services to the poor. In

furtherance of its purposes, the national Christian Legal Society organization maintains

both attorney and law student chapters across the country.

       16.    CLS-USC is the local University of South Carolina School of Law chapter

of the national Christian Legal Society organization and a recognized student

organization at The University of South Carolina.

       17.    CLS-USC is governed by a chapter constitution. A true and correct copy of

the CLS-USC Constitution is attached as Exhibit A.

       18.    CLS-USC activities include regular meetings in which Christian

perspectives on legal issues and the practice of law are discussed, and at which

refreshments are provided, speaker events and educational events for the student body

with attorneys and judges addressing religious freedom issues and Christian perspectives

on law and law practice, travel to and participation in the annual national CLS

conference, volunteer work at a local food bank, and parties to welcome students at the

                                              6
     3:08-cv-00701-CMC             Date Filed 02/28/08    Entry Number 1      Page 7 of 15




beginning of the semester and to celebrate the end of the semester.

             B. Student Organization Recognition at The University of South Carolina

                  (1)         Benefits of Recognition of Student Organizations

       19.      The University of South Carolina is a public university located in

Columbia, South Carolina.

       20.      The University of South Carolina permits students to form and register

student organizations through authority delegated to the Department of Student Life of

the Division of Student Affairs.

       21.      A true and correct copy of the directory of all recognized student

organizations      at     The       University    of     South   Carolina     as    listed   on

http://web.sa.sc.edu/search.asp, as of February 27, 2008, is attached as Exhibit B.

       22.      Recognition as a University of South Carolina registered student

organization conveys numerous substantial benefits and privileges including access to

channels of communication, use of physical facilities, and participation with other

recognized student organizations in coordinating activities and events. Further, a critical

benefit of recognition is the eligibility to apply for and receive funding through the

Department of Student Life from funds generated from mandatory student activity fees

by The University of South Carolina.

       23.      Recognition as a student organization at The University of South Carolina

does not confer upon the organization, its policies, practices or views, the sponsorship or

endorsement of the University.

                        (2)      Criteria for Funding Student Organizations

                                                  7
     3:08-cv-00701-CMC       Date Filed 02/28/08    Entry Number 1      Page 8 of 15




       24.    The University of South Carolina permits the disbursement of funds, drawn

from student activity fees, to a variety of student organizations. University of South

Carolina Finance Code, §§ 300.05, 300.35. A true and correct copy of The University of

South Carolina Student Government Finance Codes as of February 28, 2008 available at

http://www.sg.sc.edu/PDF/codes/FinanceCodes.pdf, is attached as Exhibit C.

       25.    The disbursement of funds occurs in two phases. At the beginning of the

semester, recognized student organizations may apply for and receive funds set aside for

“general funding.” Throughout the semester, student organizations may also apply for

and receive funds earmarked for “special project funding.”

       26.    Under the Finance Codes, “The [Senate] Finance Committee shall give

priority to the allocation of general funding to organizations. The remaining money shall

be placed into the special project account.” Exhibit C at § 390.34.

       27.    In the 2007-2008 academic year, special funding money was exhausted by

the end of the fall semester, leaving no money available for the spring semester.

       28.    Under the Finance Codes, “Religious Organizations” are ineligible for

general funding. Exhibit C at § 390.05.

       29.    The Student Organization Treasurer’s Manual states with respect to general

funding: “You should remember that major consideration will be given to the educational

value of the program component to the entire student body and to the number of students

that benefit from the expenditure.”




                                            8
     3:08-cv-00701-CMC          Date Filed 02/28/08   Entry Number 1     Page 9 of 15




A true and correct copy of the 2007-2008 Student Organization Treasurer’s Manual is

attached hereto as Exhibit D.

       30.    The Finance Codes provide, “[c]lubs and organizations that are not eligible

to receive general funding may apply for funding for specific content neutral programs

that are educational and of benefit to the general Student Body.” Exhibit C at § 390.10.

       31.    Furthermore, the Finance Codes provide, “Any student organization, not

eligible for general funding, can apply for funds for a special event funding which the

Senate Finance Committee, with Senate approval, deems to be content neutral,

educational and of benefit to the University as whole (e.g. Oxfam sponsorship of World

Hunger Awareness Day).” Exhibit C at § 390.25 B.

       32.    The Finance Codes further provide that the Senate Finance Committee

allocates special project funding according to the following criteria:

                 1. Past and expected future performance of the
                    specific program/event
                 2. Educational value of the programs/events to the
                    student body
                 3. Completion of the “Component or Project Funding
                    Budget Request Information” form . . . .

       Exhibit C at § 390.34.

              (3)     Process for Funding Law School Student Organizations

                                  and CLS-USC’s Rejection

       33.    In January 2008, the SBA Legislative Council passed an “umbrella”

legislation package to streamline the funding process for law school student

organizations. A true and correct copy of the umbrella legislation package, dated January


                                              9
    3:08-cv-00701-CMC        Date Filed 02/28/08    Entry Number 1        Page 10 of 15




22, 2008, is attached as Exhibit E. The SBA Finance Committee now receives budget

proposals from these organizations and combines the proposals into a single budget

proposal, which the SBA Finance Committee then submits to the Senate Finance

Committee at the University. Exhibit E, at 1.

       34.    The Senate Finance Committee reviews the combined budget proposal and

introduces it to the full Senate for a vote. Finance Codes at § 320.05.

       35.    If the budget proposal passes, then the Senate submits it to the President of

the Student Body, who approves or rejects the budget proposal. If the budget proposal

passes, then it is submitted to the Vice President of Student Affairs, who forwards it to

the President of the University. Exhibit E at § 320.30.

       36.    The President of the University reviews the budget proposal.           If the

President of the University rejects the budget proposal, then the budget proposal is

returned to the Senate for reexamination and resubmission. Exhibit E at § 320.30.

       37.    On or about January 25, 2008, CLS-USC submitted a budget proposal for

general funding to the Student Bar Association (SBA). A true and correct copy of the

CLS-USC budget proposal for general funding, dated January 25, 2008, is attached as

Exhibit F.

       38.    In February 2008, Defendant Davis informed Robert Ingram, the CLS-USC

Chapter President, that she had to reject CLS-USC’s budget proposal because CLS-USC

is a religious organization and she was bound to enforce the Finance Codes’ restriction on

permitting religious organizations to participate in the general funding process.

       39.    As a result of the policies and the practices of Defendants, CLS-USC is

                                            10
     3:08-cv-00701-CMC        Date Filed 02/28/08    Entry Number 1     Page 11 of 15




denied the full rights and benefits of recognized status by The University of South

Carolina, including access to funding available to other recognized student organizations.

          40.   All acts of the Defendants, their officers, agents, servants, employees, or

persons acting at their behest or direction herein alleged, were done and are continuing to

be done under the color of state law, including the statutes, regulations, customs, policies

and usages of the State of South Carolina, and pursuant to policies and/or customs

established by The University of South Carolina, through Defendants.

          41.   Unless and until the Defendants are enjoined from denying recognized

student organization status and its attendant benefits and privileges to CLS-USC on the

basis that it is a religious organization, CLS-USC and its members will suffer and

continue to suffer irreparable harm to their First Amendment rights.

          42.   Unless and until the Defendants are enjoined from employing a system of

student organization funding that employs viewpoint discriminatory criteria, lacks

adequate protections against viewpoint discrimination, and provides unbridled discretion

to Defendants in determining whether and at what level to fund student groups, CLS-

USC and other similarly situated student organizations at The University of South

Carolina will suffer and continue to suffer irreparable harm to their First Amendment

rights.

                                         COUNT I

                               FREE SPEECH CLAUSE
                          UNITED STATES CONST. AMEND. I

          43.   Plaintiffs restate and reallege each allegation set forth in paragraphs 1


                                             11
    3:08-cv-00701-CMC        Date Filed 02/28/08   Entry Number 1     Page 12 of 15




through 42 as if set forth verbatim herein.

       44.    By denying general funding to religious organizations, including CLS-

USC, and by employing a system to distribute general funds that lacks adequate

protections against viewpoint discrimination and provides unbridled discretion and

invites and results in viewpoint discrimination, Defendants have violated and will

continue to violate the right to free speech guaranteed to CLS, CLS-USC, and similarly

situated religious organizations at The University of South Carolina by the First

Amendment to the United States Constitution and made applicable to the Defendants by

the Fourteenth Amendment.

       45.    By employing a system to distribute special project funding to student

groups in a manner that provides unbridled discretion and invites and results in viewpoint

discrimination, Defendants have violated and will continue to violate the right to free

speech guaranteed to CLS, CLS-USC, and similarly situated religious organizations at

The University of South Carolina by the First Amendment to the United States

Constitution and made applicable to the Defendants by the Fourteenth Amendment.

                                        COUNT II

                             FREE EXERCISE CLAUSE
                         UNITED STATES CONST. AMEND I

       46.    Plaintiffs restate and reallege each allegation set forth in paragraphs 1

through 45 as if set forth verbatim herein.

       47.    By denying funding to religious student organizations, including CLS-USC,

on the basis of their religious beliefs and activities and identity as a religious


                                              12
     3:08-cv-00701-CMC        Date Filed 02/28/08   Entry Number 1     Page 13 of 15




organization, Defendants have violated and will continue to violate the right to free

exercise of religion guaranteed to CLS, CLS-USC, and other similarly situated religious

student organizations, by the First Amendment to the United States Constitution and

made applicable to the states and their political subdivisions by the Fourteenth

Amendment.

          WHEREFORE, Plaintiffs respectfully request that this Court order the following

relief:

          1.    A declaration that Defendants’ denial of general funding to recognized

religious student organizations, including CLS-USC, violates the United States

Constitution;

          2.    A declaration that Defendants’ policies for distributing special project

funds to student groups or organizations violates the United States Constitution;

          3.    A permanent injunction enjoining Defendants from denying general

funding to recognized religious student organizations, including CLS-USC; and

prohibiting Defendants, their employees, officers, and agents, and all persons acting by

and through them, from withholding any other of the rights, privileges, benefits, or

incidents of recognized student organization status from CLS-USC or from retaliating

against CLS-USC and its members directly or indirectly for exercising their

constitutional rights;

          4.    A permanent injunction requiring Defendants to implement policies and

procedures for allocating special project funds that include adequate protections against

viewpoint discrimination;

                                            13
    3:08-cv-00701-CMC       Date Filed 02/28/08    Entry Number 1   Page 14 of 15




      5.     An award of reasonable costs and attorneys’ fees incurred by Plaintiffs in

prosecuting this action pursuant to 42 U.S.C. § 1988;

      6.     That this Court retain jurisdiction over this case for the purposes of

enforcement of any order; and

      7.     Such other and further relief as the Court deems just and proper under the

circumstances.



February 28, 2008           s/ David W. Holmes
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                                           14
3:08-cv-00701-CMC    Date Filed 02/28/08   Entry Number 1    Page 15 of 15




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